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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA

V.                                                   CRIMINAL NO. 4:09-CR-0003 DPJ LRA

DAVID ESPINO and
HECTOR MARQUEZ

                      ORDER OF DISMISSAL OF COUNTS 2 AND 3

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses Counts 2 and 3 of the Indictment against defendants DAVID ESPINO and HECTOR

MARQUEZ without prejudice.

                                             Respectfully submitted,

                                             STAN HARRIS
                                             Acting United States Attorney

                                             /s/Dave Fulcher
                                     By:     DAVE FULCHER
                                             Assistant United States Attorney

       Leave of Court is granted for the filing of the foregoing dismissal of Counts 2 and 3 as to

defendants DAVID ESPINO and HECTOR MARQUEZ.

       SO ORDERED AND ADJUDGED this the 31th day of July, 2009.
                               s/ Daniel P. Jordan III
                               UNITED STATES DISTRICT JUDGE
